      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 1 of 13 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WILLIAM C. DOUGHERTY and                          )
ANARGYROS KEREAKES, individually                  )
and on behalf of other similarly situated         )
members of the Chicago Police Department,         )
                                                  )
                      Plaintiffs,                 )          No. 15 CV 10975
                                                  )
                vs.                               )
                                                  )
CITY OF CHICAGO, an Illinois Municipal            )
Corporation,                                      )
                                                  )
                      Defendant.                  )          Jury Demanded

                                          COMPLAINT

       1.      This is an individual, collective, and class action brought by William Dougherty,

a Chicago Police Officer, on behalf of himself (“Plaintiff Dougherty” or “Plaintiff P.O.”) and

other similarly situated members below the rank of sergeant of the Chicago Police Department,

Anargyros Kereakes, a Chicago Police Sergeant, on behalf of himself (“Plaintiff Kereakes” or

“Plaintiff Sgt.”) and other similarly situated members at the rank of sergeant or lieutenant in the

Chicago Police Department, for purposes of obtaining relief under the federal Fair Labor

Standards Act of 1938 as amended, 29 U.S.C. §201, et. seq. (hereinafter “FLSA”), the Illinois

Wage Payment Collection Act as amended, § 820 ILCS 115/1, et. seq. (hereinafter “IWPCA”),

and the Illinois Minimum Wage Law, § 820 ILCS 105/1 et. seq. (hereinafter “IMWL”), for

declaratory relief, unpaid compensation, unpaid overtime compensation, liquidated damages,

punitive damages, costs, attorneys’ fees, and/or any such other relief the Court may deem

appropriate.
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 2 of 13 PageID #:2



       2.      Defendant has willfully violated the FLSA, IWPCA, and IMWL by intentionally

failing and refusing to pay Plaintiff Dougherty and Plaintiff Kereakes (collectively known as

“Named Plaintiffs”), and all other employees similarly situated (“putative classes”),

compensation due them under the FLSA, IWPCA, IMWL, and their implementing regulations

over the course of the last ten years. Defendant administered a compensation system that failed

to account for hours worked in Defendant’s overtime initiatives as part of their hours worked and

thereby not paying Party Plaintiffs for overtime hours and wages in accordance with the FLSA,

IMWL, and IWPCA.

       3.      Additionally, Defendant has willfully violated the FLSA, IMWL, and IWPCA by

intentionally failing and refusing to pay Named Plaintiffs and the putative classes overtime

compensation at the rate of one and one-half times the “regular rate” for the hours worked in

excess of the hours provided for in the FLSA, IMWL, and IWPCA.

                                        JURISDICTION

       4.      Jurisdiction over this action is conferred on this Court by 29 U.S.C. §216(b) and,

28 U.S.C. §§1331, 1337, and 1367(a).

       5.      Declaratory relief is authorized under 28 U.S.C. §§2201-2202, and 29 U.S.C.

§216(b).

       6.      This court is the proper venue pursuant to 28 U.S.C. §1391(b).

                                            PARTIES

       7.      The Named Plaintiffs and the putative classes are employees of Defendant, within

the meaning of FLSA, 29 U.S.C. §203(e), IWPCA, § 820 ILCS 115/2, and IMWL, § 820 ILCS

105/3. As shown by the written consents of Named Plaintiffs attached to this complaint, Named

Plaintiffs have consented to become members of this collective action pursuant to 29 U.S.C.




                                                2
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 3 of 13 PageID #:3



§216(b). See attached Exhibits 1 and 2. Named Plaintiffs are adult resident citizens of the

Northern District of Illinois employed by the Chicago Police Department. Additionally, Named

Plaintiffs allege class action IWPCA and IMWL claims, on behalf of employees similarly

situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”).

       8.      The Defendant, City of Chicago, is a municipal corporation organized and

existing under the laws of the State of Illinois. The Defendant is, and at all relevant times, has

been, the employer of the Named Plaintiffs and the putative classes. The Chicago Police

Department is a public agency of the City of Chicago engaged in law enforcement activities.

       9.      The Defendant, City of Chicago, is an employer within the meaning of the FLSA

§ 29 U.S.C. 203(d), IWPCA, § 820 ILCS 115/2, and IMWL, § 820 ILCS 105/3.

                                         BACKGROUND

       10.     On February 19, 1985, the Supreme Court held in Garcia v. San Antonio

Metropolitan Transit Authority, 105 S. Ct. 1005 (1985) that the FLSA applies to state and local

employees. On November 13, 1985, the FLSA Amendments of 1985, (Public Law 99-150) was

enacted. The FLSA Amendments of 1985 adjusted the provisions of the Act specifically to the

concerns of public employees. Under the 1985 Amendments, liability for compliance with the

FLSA became applicable to the Chicago Police Department on April 15, 1986.

       11.     In accordance with 29 U.S.C. § 207(k) and 29 C.F.R. § 230(b) of the FLSA, the

Named Plaintiffs and the putative classes, as employees of a public agency engaged in law

enforcement activities, earn overtime wages at the rate of one and one-half times the regular rate

at which they are employed for hours worked in excess of one hundred and seventy-one (171)

hours per twenty-eight (28) day work period.




                                                  3
         Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 4 of 13 PageID #:4



                             FACTS COMMON TO ALL CLAIMS

          12.   Named Plaintiffs and the putative classes work or have worked within the past ten

years for Defendant’s Chicago Police Department in their respective capacities as non-exempt

employees under the FLSA, IWCPA, and IMWL.

          13.   Named Plaintiffs and the putative classes are and were compensated on an hourly

basis.

          14.   Defendant knew that Named Plaintiffs and the putative classes performed work

that required payment of wages and overtime compensation. Defendant has operated under a

scheme to deprive these employees of the requisite compensation by failing to compensate

Named Plaintiffs and the putative classes for all hours worked in excess of one hundred and

seventy-one (171) in a given twenty-eight (28) day pay period at one an one-half (1½) times their

regular rate.

          15.   Defendant has created and administered overtime initiatives that pay Named

Plaintiffs and the putative classes at a rate less than on and one-half (1½) times their regular rate,

regardless of whether those employees work a total of more than one hundred and seventy-one

(171) hours in a twenty-eight (28) day pay period.

          16.   Specifically, the overtime initiatives referred to in paragraph fifteen (15) include

the Police Department’s Violence Reduction Initiative (“VRI”) and Parks Overtime Initiative

(“Parks”).

          17.   Defendant fails to include hours worked in VRI and/or Parks by Named Plaintiffs

and others similarly situated into the total hours worked by those officers, sergeants and

lieutenants in a twenty-eight (28) day pay period, as required by the FLSA.




                                                  4
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 5 of 13 PageID #:5



       18.     Defendant’s failure to include hours worked in VRI and/or Parks as part of the

total hours worked toward the one hundred and seventy-one (171) hour threshold routinely

hinders or prevents officers from being paid FLSA overtime.

       19.     Pay for VRI and/or Parks is not excluded from the regular rate under 29 U.S.C.

207(e), and therefore, should have been included in the regular rate of pay of the Named

Plaintiffs and putative classes.

       20.     Defendant’s conduct, as set forth in this complaint, was willful and in bad faith,

and caused significant damages to Named Plaintiffs and the putative classes.

       21.     Willfulness and bad faith are apparent when one considers how Defendant

administers a similar overtime initiative known as Violence Reduction Enforcement (“VRE”)

that is available only to members of no-bid and specialized units within the Chicago Police

Department.

       22.     Hours worked by officers in VRE are included in the total hours worked by those

officers, sergeants and lieutenants in a twenty-eight (28) day work period, as required by the

FLSA; while hours worked in VRI and Parks are not.

       23.     The similarly situated employees include four putative classes.

       24.     The first class is defined as follows: All Police Department members below the

rank of sergeant who worked Defendant’s VRI and/or Parks overtime, at any time within three

years prior to this action’s filing date through the final disposition of this case, and within the

respective statutory periods for damages set forth in the FLSA and IMWL.

       25.     The second class is defined as follows: All Police Department members holding

the rank of sergeant or lieutenant who worked Defendant’s VRI and/or Parks overtime, at any




                                                   5
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 6 of 13 PageID #:6



time within three years prior to this action’s filing date through the final disposition of this case,

and within the respective statutory period for damages set forth in the FLSA and IMWL.

       26.     The third class is defined as follows: All Police Department members below the

rank of sergeant who worked Defendant’s VRI and/or Parks overtime, at any time within ten

years prior to this action’s filing date through the final disposition of this case, and within the

statutory period for damages set forth in the IWPCA.

       27.     The fourth class is defined as follows: All Police Department members holding

the rank of sergeant or lieutenant who worked Defendant’s VRI and/or Parks overtime, at any

time within ten years prior to this action’s filing date through the final disposition of this case,

and within the statutory period for damages set forth in the IWPCA.

                                          COUNT I:
                                 VIOLATION OF THE FLSA
              (Collective Action for Declaratory Relief and Monetary Damages)

       28.     Named Plaintiffs bring this action on behalf of themselves and all other similarly

situated employees as authorized under the FLSA, 29 U.S.C. § 216(b).

       29.     In the past three years, Named Plaintiffs and the putative classes have worked in

excess of one hundred and seventy-one (171) hours in at least one twenty-eight (28) day pay

period and were not paid their full overtime compensation by the Defendant.

       30.     Pursuant to FLSA 29 U.S.C. § 207(a)(1), Defendant violates FLSA overtime

requirements by failing to provide full overtime compensation to Named Plaintiffs and the

putative classes for hours worked in excess of one hundred and seventy-one (171) at a rate not

less than one and one-half (1½) times the regular rate at which they are employed.

       31.     This claim for declaratory relief, monetary damages, liquidated damages,

attorney’s fees, and costs is properly brought under and maintained as an opt-in Collective




                                                   6
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 7 of 13 PageID #:7



Action pursuant to the FLSA, 29 U.S.C. § 216(b), by Plaintiffs and on behalf of the putative

classes.

       32.     Named Plaintiffs and the putative classes are, and have been, similarly situated,

have and have had, substantially similar job requirements and pay provisions, and are, and have

been, subject to the Chicago Police Department decision, policy, plan, and common policies,

programs, practices, procedures, protocols, routines, and rules. The claims of the Named

Plaintiffs stated herein are the same as those of the putative classes.

       33.     Named Plaintiffs, individually and on behalf of the putative classes, seeks relief

on a collective basis challenging, among other FLSA violations, the Chicago Police

Department’s practice of failing to accurately record all hours worked and failing to pay

employees at their regular rate for hours worked including overtime compensation.

       34.     Named Plaintiffs’ experiences are typical of the experiences of the putative

classes.

       35.     A Collective Class is readily ascertainable. For purpose of notice and other

purposes related to this action, their names, email addresses, phone numbers, and home

addresses are readily available from the Chicago Police Department. Notice can be provided to

the putative classes via first class mail to the last address known to the Chicago Police

Department and/or through electronic mail using the Chicago Police Department’s electronic

mail system and intranet capabilities.

       36.       Defendant has failed to keep appropriate records as required by the FLSA, with

respect to the Named Plaintiffs and putative classes, sufficient to determine wages, hours, and

other conditions and practices of employment in violation of the FLSA, 29 U.S.C. §§ 201, et

seq., including 29 U.S.C. §§ 211(c) and 215(a).




                                                  7
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 8 of 13 PageID #:8



         37.    The foregoing conduct of Defendant is in violation of the rights of Named

Plaintiffs and the putative classes under the Fair Labor Standards Act of 1938, as amended.

                                              RELIEF

         WHEREFORE, Named Plaintiffs and the putative classes respectfully request that this

Court:

         A.     At the earliest possible time, issue an Order allowing Notice or issue such Court
                supervised Notice to all similarly situated current and former Chicago Police
                Department employees of this action and their rights to participate in this action.
                Such Notice shall inform all similarly situated current and qualified former
                employees of the pendency of this action, the nature of this action, and of their
                right to “opt in” to this action. Additionally, such notice will include a statement
                informing said employees that it is illegal for the Chicago Police Department to
                take any actions in retaliation of their consent to join this action;

         B.     Enter a declaratory judgment declaring that the Defendant has willfully,
                intentionally and wrongfully violated its statutory obligations and deprived the
                Plaintiffs, and all others similarly situated, of their entitlement under the FLSA,
                by:

                i.     Failing to include the hours worked in VRI and Parks as part of their hours
                       worked in a twenty-eight (28) day work period;

                ii.    Failing to include the rate of pay for hours worked in VRI and Parks as
                       part of their regular rate;

                iii.   Failing to pay them for hours worked in excess of one hundred and
                       seventy-one (171) at a rate not less than one and one-half (1½) times the
                       regular rate at which they are employed; and

                iv.    Violating any other statutory obligations to which Named Plaintiffs and
                       the putative classes are entitled to under the FLSA.

         C.     Award each Plaintiff monetary damages in the form of hourly compensation,
                overtime compensation and liquidated damages equal to his or her unpaid
                compensation and overtime compensation;

         D.     Award Plaintiffs their reasonable attorney’s fees, costs and expenses, to be paid
                by Defendant; and

         E.     Grant such other relief as may be just and proper.




                                                  8
      Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 9 of 13 PageID #:9




                                          COUNT II:
                            VIOLATION OF STATE LAW IWPCA
                          (Class Action Pursuant to Fed. R. Civ. P. 23)

       38.     Count II fully incorporates all facts in paragraphs 1 – 37 as if fully stated herein.

       39.     The matters set forth in this Count arise from Defendant’s violations of Illinois

Wage Payment and Collection Act, 820 ILCS § 115/1 et seq.

       40.     Defendant has violated the IWPCA by failing to pay Named Plaintiffs and the

putative classes all wages due to them within the past ten years in accordance with 820 ILCS §§

115/2-4. Defendant administered an unlawful compensation system that failed to provide

compensation to Named Plaintiffs and the putative classes for hours worked in a given work

period. The wage agreements between putative classes and Defendant are attached to this

Amended Complaint as Exhibits 3-5.

        41.    Pursuant to 820 ILCS 115/14(a), Named Plaintiffs and the putative classes are

entitled to recover unpaid wages for ten years prior to the filing of this suit, plus punitive

damages in the amount of two percent (2%) per month of the amount of underpayments.

       42.     As a result of Defendant’s unlawful practice, Named Plaintiffs and the putative

classes suffered a loss of unpaid wages. This action is brought to recover unpaid wages,

statutory penalties, and damages owed to Named Plaintiffs and the putative classes by

Defendant.

        43.    The foregoing conduct of Defendant is in violation of the rights of Named

Plaintiffs and the putative classes under IWPCA §§ 820 ILCS 115/2-4 and 14.

        44.    The Defendant’s violation of the IWPCA was willful in that the Defendant was

aware, or should have been aware, of its obligations under the IWPCA, but nevertheless

attempted to circumvent its provisions.



                                                  9
    Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 10 of 13 PageID #:10



         45.    This action is brought as a class action pursuant to Fed. R. Civ. P. 23(a) and (b)

because the putative classes are so numerous that joinder of all class members is impracticable.

         46.    Named Plaintiffs and the putative classes have all been affected by Defendant’s

unlawful non-payment of wages.

         47.    Plaintiffs’ experiences are typical of the experiences of the putative classes

employed by Defendant.

         48.    The issues involved in this lawsuit present common questions of law and fact;

these common questions of law and fact predominate over the variations, if any, which may exist

between the members of the classes.

         49.    Named Plaintiffs and the putative classes have a commonality of interest in the

subject matter and the remedy sought.

         50.    Plaintiffs are able to fairly and adequately represent and protect the interests of

the putative classes.

         51.    Plaintiffs’ counsel is competent and experienced in litigating large wage and hour

class and collective actions.

         52.    If individual actions were required to be brought by each member of the classes

injured or affected, the result would be a multiplicity of actions, creating a hardship to Named

Plaintiffs and the putative classes, to the Court and to Defendant. Accordingly, a class action is

an appropriate method for the fair and efficient adjudication of this lawsuit and distribution of

the common fund to which the class is entitled.

                                              RELIEF

         WHEREFORE, Named Plaintiffs and the putative classes respectfully requests that this

Court:




                                                  10
    Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 11 of 13 PageID #:11



       A.    Enter a declaratory judgment declaring that the Defendant has willfully,
             intentionally, and wrongfully violated its statutory obligations and deprived Named
             Plaintiffs and the putative classes of their entitlements under the IWPCA;

       B.    Enter injunctive relief enjoining Defendant from violating the IWPCA;

       C.    Determine that this action may be maintained as a class action, pursuant to Fed. R.
             Civ. P. 23;

       D.    Appoint Named Plaintiffs as Class representatives;

       E.    Appoint Plaintiffs’ Counsel as Counsel for the Classes;

       F.    Award Named Plaintiffs and the putative classes monetary damages in the form of
             unpaid wages due and owing to the Plaintiffs for each hour the Plaintiffs worked
             but for which the Defendant failed to pay the Plaintiffs at the agreed upon rate;

       G.    Award Named Plaintiffs and the putative classes reasonable attorneys’ fees, costs,
             and expenses, to be paid by Defendant;

       H.    Award Named Plaintiffs and the putative classes statutory, liquidated, penalty,
             and/or punitive damages pursuant to the IWPCA;

       I.    Award Named Plaintiffs and the putative classes pre-judgment interest pursuant to
             815 ILCS 205/2; and

       J.    Grant such other relief as may be just and proper.

                                        COUNT III:
                           VIOLATION OF STATE LAW IMWL
                         (Class Action Pursuant to Fed. R. Civ. P. 23)

       53.     Count III fully incorporates all facts in paragraphs 1 – 52 as if fully stated herein.

       54.     The matters set forth in this Count arise from Defendant’s violations of the

minimum wage, 820 ILCS 105/4, and overtime compensation provisions of the Illinois

Minimum Wage Law, 820 ILCS 105/4(a).

       55.     Defendant violated the IMWL, 820 ILCS 105/4(a), by refusing to compensate

Named Plaintiffs and the putative classes for overtime for all hours worked in excess of their




                                                 11
    Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 12 of 13 PageID #:12



regularly worked hours in a given work period at a rate not less than one and one-­‐half times the

regular rate at which they were employed.

         56.    Pursuant to 820 ILCS 105/12(a), Named Plaintiffs and the putative classes are

entitled to recover unpaid wages for three years prior to the filing of this suit, plus punitive

damages in the amount of two percent (2%) per month of the amount of underpayments.

         57.    The Defendant’s violation of the IMWL was willful in that the Defendant was

aware, or should have been aware, of its obligations under the IMWL, but nevertheless attempted

to circumvent its provisions.

                                              RELIEF

         WHEREFORE, Named Plaintiffs and the putative classes respectfully requests that this

Court:

         A.    Enter a declaratory judgment declaring that the Defendant has willfully,
               intentionally, and wrongfully violated its statutory obligations and deprived Named
               Plaintiffs and the putative classes of their entitlements under the IMWL;

         B.    Enter injunctive relief enjoining Defendant from violating the IMWL;

         C.    Determine that this action may be maintained as a class action, pursuant to Fed. R.
               Civ. P. 23;

         D.    Appoint Named Plaintiffs as Class representatives;

         E.    Appoint Plaintiffs’ Counsel as Counsel for the Classes;

         F.    Award Named Plaintiffs and the putative classes monetary damages in the form of
               unpaid overtime wages due and owing to the Plaintiffs for each hour the Plaintiffs
               worked but for which the Defendant failed to pay the Plaintiffs at a rate equal to
               one and a half times regular rate at which the Plaintiffs were employed;

         G.    Award Plaintiffs compensation and liquidated damages equal to their unpaid
               compensation,

         H.    Award Named Plaintiffs and the putative classes reasonable attorney’s fees, costs,
               and expenses, to be paid by Defendant;




                                                  12
    Case: 1:15-cv-10975 Document #: 1 Filed: 12/07/15 Page 13 of 13 PageID #:13



       I.    Award Named Plaintiffs and the putative classes statutory, penalty, and/or punitive
             damages pursuant to the IMWL;

       J.    Award Named Plaintiffs and the putative classes pre-judgment interest pursuant to
             815 ILCS 205/2; and

       K.    Grant such other relief as may be just and proper.

                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demands a trial

by jury on all questions of fact raised by the Complaint.

                                                     Respectfully Submitted,


                                                     s/ Paul D. Geiger
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                                                13
